                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA

AMY BRYANT, MD,                        )
                                       )
       Plaintiff,                      )
                                       )
v.
                                       )
JOSHUA H. STEIN, in his official       )
capacity as Attorney General for the   )
State of North Carolina, et al.,       )
                                       )   Case No.: 1:23-cv-00077-WO-LPA
       Defendants,                     )
                                       )
and                                    )
                                       )
TIMOTHY K. MOORE and
                                       )
PHILIP E. BERGER,
                                       )
       Intervenors.                    )
                                       )




                    MEMORANDUM OF LAW IN OPPOSITION
                    TO INTERVENORS’ MOTION TO DISMISS




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                                     INTRODUCTION

       Out of the many thousands of drugs that have been approved by the federal Food and

Drug Administration, a few dozen are subject to extraordinary federal oversight in the form

of a Risk Evaluation and Mitigation Strategy, commonly known as a REMS. Congress charged

FDA with determining whether any REMS restrictions on distribution are needed, and if they

are, ensuring that such restrictions are “commensurate with” the drug’s identified risks, are

“not unduly burdensome on patient access,” and are designed to “minimize the burden on the

health care delivery system.” 21 U.S.C. § 355-1(f)(2).

       This case presents a straightforward question: When FDA, pursuant to its

congressionally delegated REMS authority, determines that a particular mix of regulatory

controls is commensurate with a drug’s risks, may a State impose additional restrictions on

that drug, including restrictions that FDA has determined are unwarranted and inappropriate?

The answer is no. Such additional, state-imposed restrictions are preempted because they

would “upset the careful regulatory scheme established by federal law.” Geier v. Am. Honda

Motor Co., 529 U.S. 861, 870 (2000) (quotation marks omitted).

       The drug at issue in this case is mifepristone, which is FDA-approved for termination

of pregnancy in the first 10 weeks. Under the Mifepristone REMS, a healthcare practitioner

certified under the REMS, who need not be a physician, can prescribe mifepristone to a patient

either in person or through telemedicine; the patient can obtain the medication either directly

from the prescriber or from a pharmacy certified under the REMS; and the patient can take

the medication at home or at another place of the patient’s choosing. FDA has also imposed

requirements designed to standardize the information patients receive about the risks of




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mifepristone and ensure that the patient has given informed consent. Exercising its

congressionally delegated authority, FDA has concluded that this specific mix of regulatory

controls is, in the agency’s view, commensurate with the risks of mifepristone and sufficient

to ensure its safe use while not unduly burdening patient access or the healthcare delivery

system. See generally Ex. A. 1 FDA has also denied multiple citizen petitions from anti-abortion

groups challenging aspects of the Mifepristone REMS. See, e.g., Exs. E & P.

       In defiance of FDA’s regulatory judgments, North Carolina has imposed a tangle of

additional restrictions on mifepristone that conflict with the federal REMS and interfere with

Congress’s decision to entrust these matters to FDA. For example, North Carolina dictates

that mifepristone may only be provided in person by a physician in a specialized healthcare

facility and may not be obtained from a pharmacy—even a pharmacy that is certified to

dispense the drug under FDA’s REMS. North Carolina also imposes informed-consent

requirements that are inconsistent with those under the Mifepristone REMS, and it requires

an ultrasound in circumstances where FDA has deemed such a requirement inappropriate.

       Plaintiff, Dr. Amy Bryant, is certified to prescribe mifepristone in accordance with the

federal REMS, and she contends that North Carolina’s efforts to prevent her from doing so

are preempted. “[A]fter review and analysis,” the North Carolina Department of Justice has

“concluded that Plaintiff’s preemption arguments are legally correct.” Doc. 30-1 at 1. All

named defendants answered the complaint, and intervenors alone moved to dismiss. Their



1 Citations in the form “Ex. __” refer to the exhibits attached to the complaint (Doc. 1) and

the page numbering added by the CM/ECF system.


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arguments are unpersuasive.

       First, intervenors claim that the “major questions doctrine” prevents this Court from

finding preemption of any state law that even touches on the topic of abortion. But where, as

here, a federal agency’s statutory authority is undisputed, the major questions doctrine does

not interfere with the ordinary working of obstacle preemption. Moreover, this case does not

involve a question of “vast economic and political significance.” West Virginia v. EPA, 142

S. Ct. 2587, 2605 (2022) (quotation marks omitted). Dr. Bryant is not claiming here that North

Carolina is displaced from regulating abortion at all (for example, she is not challenging the

State’s 20-week abortion ban). Her position in this case is only that longstanding precedent

prevents the State from imposing restrictions on one particular drug that conflict with the

federal regulatory scheme.

       Second , intervenors claim that the Mifepristone REMS only establishes a regulatory

“floor” upon which States are free to layer additional restrictions, even restrictions that FDA

has expressly rejected. They base that argument primarily on a misreading of the Supreme

Court’s decision in Wyeth v. Levine, 555 U.S. 555 (2009). The reasons the Court gave for not

finding preemption there—including that FDA “did not consider and reject” the requirement

the State sought to impose, id. at 580-81 & n.14—point to precisely the opposite conclusion

here, where FDA, performing the role Congress assigned to it under the REMS program, did

consider and expressly reject the very same restrictions North Carolina seeks to impose on

mifepristone.

       As explained below, intervenors’ remaining arguments fare no better. Dr. Bryant

therefore respectfully requests that the Court deny intervenors’ motion to dismiss.

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                                         BACKGROUND

       A.      The Statutory Scheme: Assuring Access to REMS Drugs

       Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), a drug manufacturer

cannot introduce a new drug into interstate commerce unless FDA determines that the drug

is safe and effective under the conditions of use prescribed in the drug’s labeling. 21 U.S.C.

§ 355. For a small number of drugs, Congress directed FDA to impose additional controls in

the form of a Risk Evaluation and Mitigation Strategy, or “REMS.” See Food and Drug

Administration Amendments Act of 2007 (“FDAAA”), Pub. L. No. 110-85, § 901, 121 Stat.

823, 926 (enacting 21 U.S.C. § 355-1). A REMS may include requirements such as (i) a

medication guide or patient package insert; (ii) a communication plan; or (iii) packaging and

disposal requirements. Id. § 355-1(e).

       FDA can also require that a REMS include Elements to Assure Safe Use, or “ETASU.”

These elements may require that (i) healthcare providers who prescribe the drug have

particular training or experience or be specially certified; (ii) pharmacies, practitioners, or

healthcare settings that dispense the drug be specially certified; (iii) the drug be dispensed only

in certain settings; (iv) the drug be dispensed only with documentation of safe-use conditions,

such as laboratory test results; or (v) patients using the drug be monitored or enrolled in a

registry. Id. § 355-1(f)(3). In a provision titled “Assuring Access and Minimizing Burden,”

Congress charged FDA with ensuring that any REMS restrictions are “commensurate with”

specific identified risks of the drug, are “not … unduly burdensome on patient access to the

drug,” and “minimize the burden on the health care delivery system” of complying with the

restrictions. Id. § 355-1(f)(2). In determining what restrictions are appropriate, FDA is required


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to “seek input from patients, physicians, pharmacists, and other healthcare providers” about

how to design the requirements so as to avoid unduly burdening patients and providers. Id.

§ 355-1(f)(5)(A).

       Congress also charged FDA with continued monitoring and periodic reassessment of

REMS and ETASU to ensure that they continue to reflect the least restrictive set of

requirements necessary to ensure safety while protecting patient access. Every REMS thus

includes a timetable for periodic assessments. Id. § 355-1(c)(1), (d). In addition, FDA must

“periodically evaluate” ETASU to assess whether they are necessary to assure safe use, “are

not unduly burdensome on patient access to the drug,” and “minimize the burden on the

health care delivery system.” Id. § 355-1(f)(5)(B). And FDA must “modify” the ETASU “as

appropriate” in light of the evaluations and input received from patients, physicians,

pharmacists, and other healthcare providers. Id. § 355-1(f)(5)(C). FDA also may require

modification of a REMS whenever necessary to “minimize the burden on the health care

delivery system.” Id. § 355-1(g)(4)(B).

       B.      FDA’s Regulation of Mifepristone Under the REMS Statute

       Twenty-three years ago, FDA approved mifepristone for use in medication abortion

and found that access to mifepristone was “important to the health of women.” Ex. D at 5. 2

Mifepristone is FDA-approved for use in a regimen with a second drug, misoprostol, which

is taken 24 to 48 hours later. Serious complications are extremely rare, “occurring in no more


2 FDA initially approved mifepristone under the brand name Mifeprex; the agency approved

a generic version in 2019. Ex. P at 3, 5. References to mifepristone in this brief include both
the branded and generic versions.


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than a fraction of a percent of patients”—which makes mifepristone as safe as “commonly

used prescription and over-the-counter medications,” such as aspirin, ibuprofen, and

commonplace antibiotics. Nat’l Acads. of Scis., Eng’g, & Med., The Safety and Quality of

Abortion Care in the United States 55, 58 (2018); see Ex. P at 8, 21. 3

       FDA’s approval of mifepristone included distribution restrictions under regulations

that predated the REMS statute. Ex. D at 7. When Congress created the REMS program in

2007, it deemed mifepristone and 15 other drugs to have an approved REMS, and it required

those drugs’ sponsors to submit proposed REMS for approval under the new REMS provision

of the FDCA. See FDAAA § 909(b), 121 Stat. at 950-51; Identification of Drug and Biological

Products Deemed to Have Risk Evaluation and Mitigation Strategies for Purposes of the Food

and Drug Administration Amendments Act of 2007, 73 Fed. Reg. 16,313 (Mar. 27, 2008).

       In June 2011, FDA approved the first Mifepristone REMS, which carried forward the

restrictions FDA had imposed 11 years earlier. Ex. P at 2-3. The 2011 REMS required, among

other things, that mifepristone be provided by a specially certified physician with enumerated

qualifications who signed an FDA-approved Prescriber’s Agreement. Ex. H at 2-3, 8. The

REMS also stated that mifepristone could be dispensed “only in certain health care settings,

specifically clinics, medical offices, and hospitals.” Id. at 3. The REMS did not require that that


3 Intervenors misleadingly claim that “[o]ne in five women suffers complications from
chemical abortions,” citing a study of abortions in Finland in the early 2000s. Doc. 54, Mem.
in Supp. of Mot. to Dismiss at 12 n.8 (hereinafter “MTD”). But as FDA noted, that figure
includes women who reported bleeding, a normal side effect. Ex. P at 38-39. One of the study’s
authors recently called its use by anti-abortion groups “pure nonsense.” Amy Schoenfeld
Walker et al., Are Abortion Pills Safe? Here’s the Evidence., N.Y. Times (Apr. 1, 2023), https://
www.nytimes.com/interactive/2023/04/01/health/abortion-pill-safety.html.


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every patient have an ultrasound, as FDA had “carefully considered” the question and

determined that whether to perform an ultrasound should be left “to the medical judgment of

the physician.” Ex. D at 6. In addition, patients had to sign the FDA-approved Patient

Agreement and receive a copy of the FDA-approved Medication Guide. Id. at 2-3, 5-7, 10-11.

The Patient Agreement stated, among other things, that the patient would “take Mifeprex in

[the] provider’s office.” Id. at 10.

       Five years later, FDA revisited the Mifepristone REMS and determined that it had to

be modified “to minimize the burden on the healthcare delivery system.” Ex. J at 3. Among

other changes, FDA decided that qualified healthcare providers other than physicians should

be allowed to become certified to prescribe mifepristone. Ex. N at 6; Ex. P at 9-11. The 2016

REMS continued to require that the drug be dispensed in person in a clinic, medical office, or

hospital. Ex. N at 3-4. However, FDA revised the Patient Agreement to no longer state that

mifepristone would be administered in person in the provider’s office. Ex. N at 8; Ex. M at 3.

       The in-person dispensing REMS requirement remained in place until July 2020, when

a district court preliminarily enjoined FDA from enforcing it during the COVID-19 pandemic.

Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 217 (D. Md. 2020). The

Supreme Court stayed that injunction six months later, with the Chief Justice emphasizing that

courts owe “significant deference” to FDA’s expert judgment. FDA v. Am. Coll. of Obstetricians

& Gynecologists, 141 S. Ct. 578, 579 (2021) (concurring op.). But two Justices urged FDA to

reconsider the in-person dispensing requirement. They pointed out that the requirement was

“irrational” because the REMS already “allow[ed] patients to receive all physician

consultations for a medication abortion virtually and to take [mifepristone] at home without

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medical supervision.” Id. at 579 (dissenting op.). And they noted that the in-person

requirement had “been suspended for six months, yet the Government ha[d] not identified a

single harm experienced by women who ha[d] obtained mifepristone by mail or delivery.” Id.

at 584.

          In the wake of these court decisions and other litigation challenging the REMS, FDA

announced that it would not enforce the in-person dispensing requirement during the

COVID-19 public health emergency, and that it would undertake “a full review of the

Mifepristone REMS program.” Ex. P at 7. Following that review, on December 16, 2021,

FDA determined that this requirement was “no longer necessary to ensure the benefits of

mifepristone outweigh the risks” and that “[r]emoval of the requirement for in-person

dispensing” was “necessary” to “minimize the burden on the healthcare delivery system.” Ex.

R at 2-3; see Ex. P at 6.

          In January 2023, FDA approved a REMS modification that effectuated these changes

by removing the in-person dispensing requirement and adding a certification requirement for

pharmacies to dispense the drug. Ex. S at 4; Ex. A at 2-5. As modified, the REMS states that

mifepristone can be dispensed “by or under the supervision of certified prescribers, or by

certified pharmacies on prescriptions written by certain prescribers.” Ex. A at 2. FDA

concluded that with these changes, the REMS “will continue to ensure the benefits of

mifepristone for medical abortion outweigh the risks while minimizing the burden imposed




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by the REMS on healthcare providers and patients.” Ex. T at 14. 4

       C.     North Carolina’s Restrictions on Mifepristone

       Plaintiff, Dr. Amy Bryant, is a licensed physician with a medical practice in Orange

County, North Carolina, and is certified to prescribe mifepristone under the federal REMS.

Doc. 1 ¶ 14. North Carolina law, however, imposes unnecessary and burdensome restrictions

on her practice that are inconsistent with the federal REMS—including the same in-person

requirement that FDA specifically rejected.

       North Carolina law provides that any abortion, including a medication abortion with

mifepristone, is lawful only “when the procedure is performed by a qualified physician ... in a

hospital or clinic certified by the Department of Health and Human Services to be a suitable

facility for the performance of abortions.” N.C. Gen. Stat. § 14-45.1(a). Locations the State

deems “suitable” are limited to (a) facilities attached to or operated by licensed hospitals; and

(b) freestanding abortion clinics, which must meet a host of onerous and medically

unnecessary facility requirements. Id.; see generally 10A N.C. Admin. Code subchapter 14E.

North Carolina law also provides that “[t]he physician prescribing, dispensing, or otherwise

providing any drug or chemical for the purpose of inducing an abortion shall be physically

present in the same room as the patient when the first drug or chemical is administered to the



4 Recently, a single district judge in Texas purported to “stay” all of FDA’s regulatory actions

regarding mifepristone, from the 2000 approval forward. That order was itself stayed pending
appeal by the Supreme Court, so the Mifepristone REMS remains in effect. See Danco Labs.,
LLC v. All. for Hippocratic Med., 2023 WL 3033177 (U.S. Apr. 21, 2023); see also GenBioPro, Inc.
v. Sorsaia, No. 3:23-cv-58 (S.D. W. Va. Apr. 21, 2023), Doc. 52 (noting that the Texas order
“has been met with broad criticism from legal commentators” and according it “little weight”).


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patient.” N.C. Gen. Stat. § 90-21.82(1)(a). In addition, North Carolina requires that the patient

receive specific, state-mandated information at least 72 hours before an abortion—including

statements that are inconsistent with the Mifepristone REMS—and mandates an ultrasound

for “any patient who is scheduled for an abortion procedure” in a non-hospital-affiliated clinic.

Id. §§ 90-21.82, 90-21.90; 10A N.C. Admin. Code § 14E.0305(d).

       North Carolina threatens severe consequences for a physician who fails to comply with

these restrictions, including criminal prosecution, civil penalties, and suspension or revocation

of the physician’s medical license. See N.C. Gen. Stat. §§ 14-44, 14-45, 90-14(a)(2), 90-21.82.

These restrictions prevent Dr. Bryant from prescribing mifepristone to her patients in a

manner consistent with the federal REMS and her professional judgment.

                                        ARGUMENT

I.     The complaint plausibly alleges that North Carolina’s restrictions on
       mifepristone are preempted.

       In our federal system, state law must yield to federal law, which is “the supreme Law

of the Land.” U.S. Const. art. VI, cl. 2. For preemption purposes, relevant federal law includes

both statutes enacted by Congress and actions taken by “a federal agency acting within the

scope of its congressionally delegated authority.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

369 (1986). Accordingly, “agency actions taken pursuant to the FDA’s congressionally

delegated authority” can preempt state law. Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct.

1668, 1679 (2019).

       One circumstance in which state law is preempted is when it “stands as an obstacle to

the accomplishment of the full purposes and objectives of federal law.” Anderson v. Sara Lee



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Corp., 508 F.3d 181, 191-92 (4th Cir. 2007) (quoting Worm v. Am. Cyanamid Co., 970 F.2d 1301,

1305 (4th Cir. 1992)). The Supreme Court’s decision in Geier v. American Honda Motor Co., 529

U.S. 861 (2000), is a classic illustration of obstacle preemption. There, the Court held that a

state law requiring auto manufacturers to equip every car with a driver-side airbag was

preempted because it would conflict with a federal agency’s decision not to require airbags for

all vehicles. Id. at 874-75, 881-82. Acting under the National Traffic and Motor Vehicle Safety

Act, the Department of Transportation had promulgated a Federal Motor Vehicle Safety

Standard that “deliberately sought variety” by “allowing manufacturers to choose among

different passive restraint mechanisms,” including seatbelts. Id. at 878. The agency had

specifically rejected a proposed “all airbag” standard as inconsistent with its goals. Id. at 879.

The Supreme Court held that a state-law airbag requirement “would have presented an

obstacle to the variety and mix of devices that the federal regulation sought” and “upset the

careful regulatory scheme established by federal law.” Id. at 870, 881 (quotation marks

omitted). 5

       A straightforward application of Geier shows that Dr. Bryant’s complaint states at least

a “plausible” claim that North Carolina’s restrictions on mifepristone are preempted. Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quotation marks omitted). In crafting the Mifepristone

REMS, FDA has identified the specific mix of regulatory controls that, in the agency’s view,



5 Citing only a separate opinion by Justice Thomas, intervenors claim that obstacle preemption

is “disfavored.” MTD at 21-22. But the Supreme Court has held that obstacle preemption is
among the “ordinary principles of preemption” and is “well-settled.” Arizona v. United States,
567 U.S. 387, 406 (2012).


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protects patient safety without unduly burdening patient access or the healthcare system.

North Carolina seeks to upset that regulatory balance by imposing restrictions that go beyond

the federal REMS, including restrictions that FDA has specifically concluded are unwarranted

and inappropriate. For example, North Carolina requires that mifepristone be provided in

person in a specialized facility, even though FDA determined that “prescribers do not have to

be physically present with the patient” and that removing “the requirement that mifepristone

be dispensed only in certain healthcare settings” was “necessary” to assure appropriate patient

access and eliminate undue burdens on the healthcare system. Ex. P at 7, 13; see also id. at 22-

23, 26-37. North Carolina requires that mifepristone be provided by a physician, even though

FDA determined that mifepristone “is safe and effective when prescribed by midlevel

providers, such as physician assistants and nurse practitioners.” Id. at 9-11. North Carolina

mandates an ultrasound for every patient who receives abortion care from a non-hospital-

affiliated clinic, even though FDA “carefully considered the role of ultrasound” and concluded

it would be “inappropriate” to “mandate” an ultrasound in every case. Ex. E at 19; see Ex. D

at 6; Ex. P at 12-13. And although FDA developed a Patient Agreement Form and Medication

Guide to “standardiz[e] the medication information on the use of mifepristone that prescribers

communicate to their patients,” Ex. T at 12, North Carolina deems those materials inadequate

and requires that a patient receive additional, state-mandated information at least 72 hours




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before the abortion, including statements that contradict the federal materials. 6

       In sum, North Carolina’s restrictions are preempted because they “represent[] an effort

by the state to directly override [FDA’s] explicit policy choice[s].” PPL EnergyPlus, LLC v.

Nazarian, 753 F.3d 467, 479 (4th Cir. 2014), aff’d sub nom. Hughes v. Talen Energy Mktg., LLC,

578 U.S. 150 (2016); see United States v. Locke, 529 U.S. 89, 110 (2000) (a state requirement is

obstacle-preempted where a federal agency “has decided that no such requirement should be

imposed”); Sperry v. Florida ex rel. Fla. Bar, 373 U.S. 379, 385 (1963) (a State may not “impose

upon the performance of activity sanctioned by federal license additional conditions not

contemplated by Congress”). And allowing North Carolina to enforce those restrictions would

upset “the complex balancing of interests and concerns” reflected in the REMS provisions of

the FDCA and in FDA’s Mifepristone REMS. City of Charleston v. A Fisherman’s Best, Inc., 310

F.3d 155, 172-73 (4th Cir. 2002).

II.    The “major questions doctrine” is not relevant here.

       Intervenors’ lead argument is that the Court should invoke the “major questions

doctrine” to hold that Congress did not authorize FDA to “set national abortion policy.”

MTD at 17. The Court should reject this argument for at least two reasons.

       First, the major questions doctrine is a tool for deciding whether an agency has


6 For example, North Carolina’s written materials tell medication-abortion patients that they

“will need to return for another visit 12 to 18 days later to make sure that [they] have passed
all the tissue.” N.C. Dep’t of Health & Hum. Servs., A Woman’s Right to Know 18 (Sept.
2015), https://www.ncdhhs.gov/awomansrighttoknow-web-1/open. But FDA “disagree[s]
that medical abortion always requires in-person follow-up with a healthcare provider” and
maintains that “appropriate follow-up after medical termination of a pregnancy may be
accomplished in multiple ways and not all require an in-clinic visit.” Ex. P at 14-16.


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authority to take some challenged action; it does not affect whether a concededly valid agency

action gives rise to obstacle preemption. In every case where the Supreme Court has applied

the doctrine, a party was challenging some regulatory action taken by the agency and arguing

that it exceeded the agency’s statutory authority. See West Virginia, 142 S. Ct. at 2608-09

(surveying cases). Here, however, there is no dispute that Congress authorized FDA to

promulgate the Mifepristone REMS. Because the existence of statutory authority for FDA’s

actions is not challenged, the only question is whether North Carolina’s restrictions on

mifepristone “stand[] as an obstacle” to the federal regulatory scheme. Sara Lee, 508 F.3d at

191-92 (quoting Worm, 970 F.2d at 1305). With respect to that question, intervenors cite no

authority suggesting that the major questions doctrine alters the well-established rule that

“express congressional authorization to displace state law” is not required for obstacle

preemption. Fid. Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 141, 154 (1982); see Nat’l Home

Equity Mortg. Ass’n v. Face, 239 F.3d 633, 637 (4th Cir. 2001) (“Even when Congress’s intent is

unclear, state law must nevertheless yield when it conflicts with federal law.”).

       Second , in any event, this is not an “extraordinary case[]” where an agency seeks to

regulate matters of “vast economic and political significance.” West Virginia, 142 S. Ct. at 2605,

2609 (quotation marks omitted). The Supreme Court has applied the major questions doctrine

where an agency claimed the power to (i) force a nationwide transition away from the use of

coal to generate electricity, id. at 2616; (ii) require 84 million Americans to obtain a COVID-

19 vaccine, Nat’l Fed. of Ind. Bus. v. OSHA, 142 S. Ct. 661, 662 (2022) (per curiam); (iii) impose

a nationwide moratorium on evictions, Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs.,

141 S. Ct. 2485, 2486 (2021) (per curiam); (iv) exercise permitting authority over millions of

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offices, schools, and churches, Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014); and

(v) ban cigarettes and other tobacco products, FDA v. Brown & Williamson Tobacco Corp., 529

U.S. 120, 130 (2000). Each of these cases involved a “transformative expansion in [the

agency’s] regulatory authority.” West Virginia, 142 S. Ct. at 2610 (quotation marks omitted).

       Nothing so dramatic is at issue here. Grasping for the broadest and most abstract

framing, intervenors say this case involves the question whether FDA can “set national

abortion policy.” MTD at 17. But this case involves only the modest question of whether, in

connection with abortions that are legal in North Carolina, the State can impose specific

restrictions on mifepristone that FDA has rejected as unduly burdensome and that interfere

with the operation of the federal REMS (e.g., by preventing pharmacies that are federally

certified to dispense mifepristone from doing so). The answer to that question is important to

patients and their doctors, but it is hardly a matter of such “vast economic and political

significance” as to trigger the major questions doctrine.

       Intervenors contend that abortion is such a hot-button issue that ordinary preemption

principles cannot apply to any case that so much as touches on “the topic of abortion.” MTD

at 19. In so arguing, intervenors ignore the Supreme Court’s instruction that courts should not

“engineer exceptions to longstanding background rules” just because a case involves abortion.

Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2276 (2022). This makes intervenors’

reliance on Dobbs puzzling. Dobbs holds only that there is no fundamental constitutional right

to abortion; it says nothing whatsoever about whether federal law preempts particular state

requirements, and it directs courts to resolve such questions based on ordinary legal principles.

So this Court should not shy away from “evenhandedly applying uncontroversial legal

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doctrines,” including obstacle preemption, “in a case involving state regulation of abortion.”

Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 785 (1994) (Scalia, J., concurring in judgment

in part) (quotation marks omitted).

III.    FDA’s actions under the REMS statute have preemptive force.

        Intervenors’ contention that the Mifepristone REMS “is not an agency regulation

capable of preempting state law,” MTD at 20, is not even worth the four brief sentences they

devote to it. The Supreme Court recently reaffirmed that “agency actions taken pursuant to

the FDA’s congressionally delegated authority” can preempt state law, and that such actions

are not limited to those adopted “by means of notice-and-comment rulemaking” but include

“other agency action[s] carrying the force of law.” Merck Sharp, 139 S. Ct. at 1679. As examples

of FDA actions that could have preemptive force, the Court cited statutes and regulations

authorizing FDA to communicate labeling decisions through letters to drug sponsors. Id.; see

also id. at 1685 (Alito, J., concurring in judgment). Merck eliminates any doubt that FDA’s

actions at issue here, including its approval and modification of the Mifepristone REMS, are

capable of preempting state law.

        Intervenors can point to no authority that supports their contrary argument. They first

falsely state that “the Supreme Court has held that a REMS is not even ‘agency regulation with

the force of law [that] can pre-empt conflicting state requirements.’” MTD at 20. In reality,

the language quoted by intervenors comes from the Supreme Court’s holding that a “mere

assertion” in “the preamble to a 2006 FDA regulation” was only “FDA’s opinion” and did

not carry preemptive force. Wyeth, 555 U.S. at 575-76. That case did not involve a REMS at

all, nor even a labeling action that FDA had considered and rejected. And a REMS is not some


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non-binding opinion in a regulatory preamble; it is formal agency action taken pursuant to an

express grant of statutory authority. See 21 U.S.C. § 355-1.

       Intervenors’ only other citation for this point is a 30-year-old out-of-circuit case

holding that a “contract between the government and private parties” authorizing snowmobile

tours on federal land lacked preemptive force because it was not “adopted according to the

procedures embodied in the Administrative Procedures [sic] Act”—presumably meaning

notice-and-comment rulemaking. Anderson v. Eby, 998 F.2d 858, 863 (10th Cir. 1993). But it is

clear that FDA need not act through notice-and-comment rulemaking for its actions to have

the force of law. Merck, 139 S. Ct. at 1679; see, e.g., Feikema v. Texaco, Inc., 16 F.3d 1408, 1416

(4th Cir. 1994) (consent order entered into by EPA “acting within valid statutory authority”

preempts conflicting state law).

IV.    The REMS is not a “floor” to which States can add inconsistent requirements.

       According to intervenors, the Mifepristone REMS is just a federal “floor” for

regulation of mifepristone that leaves states free to impose additional restrictions, including

ones FDA has specifically rejected. MTD at 26-28. Intervenors chiefly rely on the Supreme

Court’s decision in Wyeth v. Levine, which they wrongly claim “decided this precise issue.” Id.

at 29. But Wyeth supports Dr. Bryant’s preemption claim, and intervenors’ remaining

arguments against obstacle preemption are unpersuasive. 7




7 Intervenors also devote several pages to arguing against “impossibility preemption.” MTD

at 22-26. But Dr. Bryant’s claim is based on obstacle preemption. See Sara Lee, 508 F.3d at 191-
92 (distinguishing between impossibility and obstacle preemption).


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       A.     Wyeth supports preemption here.
       To start, recall what was at issue in Wyeth. That case involved Phenergan, a non-REMS

drug. The defendant argued that obstacle preemption barred a state-law tort suit that would

have required it to provide an additional warning for Phenergan, above and beyond the

warnings already required as part of the drug’s FDA-approved label. The trial court found that

FDA “had paid no more than passing attention to the question” whether such an additional

warning would be appropriate. Wyeth, 555 U.S. at 563. The defendant, however, insisted that

state law was preempted “regardless of whether there [was] any evidence that the FDA ha[d]

considered the stronger warning at issue.” Id. at 573-74.

       The Supreme Court rejected that argument. Distinguishing Geier, the Court explained

that there the agency’s “contemporaneous record … revealed the factors the agency had

weighed and the balance it had struck,” including its decision to “[r]eject[] an ‘all airbag’

standard”; whereas in Wyeth, the record showed that “FDA did not consider and reject a

stronger warning.” Id. at 580-81 & n.14. The Court also observed that FDA “has limited

resources to monitor the 11,000 drugs on the market,” so state tort suits could help the agency

identify “unknown drug hazards” that otherwise would not come to its attention, as well as

serve a “compensatory function” distinct from federal regulation. Id. at 578-79.

       Applying the Supreme Court’s analysis from Wyeth to the very different facts at issue

in this case confirms that obstacle preemption applies here.

       First, whereas Wyeth involved only a drug’s FDA-approved labeling, this case involves

FDA’s ongoing, meticulous regulation of a drug under the highly detailed REMS provisions

of the FDCA. As Wyeth noted, many thousands of drugs have FDA-approved warning labels.


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FDA cannot possibly monitor all those drugs to determine whether their labels should be

updated in light of new information, so Congress and FDA expect a drug’s manufacturer to

update the label as needed. Id. at 570-71, 578. Consequently, FDA’s approval of a drug’s label

at a particular point in time does not mean the agency has “performed a precise balancing of

risks and benefits” and determined that no additional warnings should ever be given. Id. at

575; see Merck, 139 S. Ct. at 1677 (noting that Wyeth rejected the argument that “FDA’s power

to approve or to disapprove labeling changes, by itself, pre-empts state law” (emphasis added)).

By contrast, only a few dozen drugs have REMS with ETASU, and Congress specifically

directed FDA to monitor those drugs on an ongoing basis and update their REMS as needed

to ensure that any restrictions are appropriate and not unduly burdensome. See 21 U.S.C. § 355-

1(f)(2), (f)(5), (g)(4). With respect to REMS drugs, Congress thus charged FDA with

performing the “precise balancing of risks and benefits” that was absent from the routine

labeling review at issue in Wyeth. 555 U.S. at 575.

       Second , as part of fulfilling that statutory responsibility, FDA specifically “consider[ed]

and reject[ed]” the very restrictions North Carolina seeks to impose on mifepristone. Id. at 581

n.14. For example, after conducting a “full review of the Mifepristone REMS Program,” FDA

expressly determined that a requirement that mifepristone be provided in person by a

physician in a specialized facility is not necessary to ensure patient safety and would unduly

burden patient access and the healthcare system. FDA thus concluded that such a requirement

would be unwarranted and inappropriate. Ex. P at 6, 10-13, 22-23, 26-37. That further

distinguishes this case from Wyeth, where the Court emphasized that FDA had not considered

and rejected the additional warnings required by state law. 555 U.S. at 581 n.14. And it makes

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this case akin to Geier, where the agency had deliberately rejected the very airbag requirement

the State sought to impose. Id. at 580; Geier, 529 U.S. at 878-79. Nor do North Carolina’s

restrictions serve any “distinct compensatory function.” Wyeth, 555 U.S. at 579. 8

       B.       Intervenors’ remaining arguments lack merit.

       Intervenors offer a few other arguments against obstacle preemption, but all are

unpersuasive.

       First, intervenors err when they claim that state law can “only be invalidated upon a

‘direct and positive conflict’ with the FDCA.” MTD at 27 (quoting Wyeth, 555 U.S. at 567).

Once again, intervenors are misrepresenting Wyeth. The “direct and positive conflict” language

comes from a provision in the Drug Amendments of 1962—the law that established FDA’s

labeling-review authority that was at issue in Wyeth. That law provided only that “[n]othing in

the amendments made by this Act ” would preempt state law absent a “direct and positive conflict.”

Drug Amendments of 1962, Pub. L. No. 87-781, § 202, 76 Stat. 780, 793 (emphasis added).

The REMS statute is not among “the amendments made by” the 1962 law; it was not added

to the FDCA until 45 years later, when Congress enacted FDAAA in 2007. And FDAAA,

unlike the 1962 law, contained no limitation on preemption. See generally 121 Stat. at 823-978. 9


8 It is notable that even in Wyeth, three Justices would have found the state-law warning

requirements preempted under Geier. See 555 U.S. at 604 (Alito, J., joined by Roberts, C.J., and
Scalia, J., dissenting). As explained above, the case for preemption is much stronger here.
9 Indeed, Congress removed similar anti-preemption language from early FDAAA drafts to

avoid “formalizing … a collection of State actions that may be contradictory to or inconsistent
with FDA actions on safety and effectiveness of FDA-regulated products.” Hearing Before
Subcomm. on Health, H. Comm. on Energy & Com., 110th Cong. 50 (2007) (statement of Mr.
Lutter, FDA Deputy Comm’r).


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       Second , contrary to intervenors’ suggestion, there is nothing “internally inconsistent”

(MTD at 27) about concluding that when FDA subjects a drug to more extensive federal

regulation under the REMS statute, it leaves less room for inconsistent state regulation.

Cf. Walker v. Medtronic, Inc., 670 F.3d 569, 572, 577 (4th Cir. 2012) (states have less leeway to

regulate Class III medical devices, which receive “the highest level of federal oversight,” than

they do to regulate Class I and II devices, which receive much less federal oversight). And

intervenors cannot plausibly describe North Carolina’s laws as “[p]arallel” and

“complementary” to FDA’s regulations. MTD at 27. State laws that impose requirements FDA

expressly rejected are neither parallel nor complementary, but contradictory. Cf. Bates v. Dow

Agrosciences LLC, 544 U.S. 431, 447 (2005) (state requirements are “parallel” to federal law

when they are “equivalent to, and fully consistent with,” federal requirements).

       Third , while intervenors invoke the presumption that federal law does not displace

state regulation of matters of health and safety (MTD at 30-31), that presumption is overcome

where, as here, state law presents “a sufficient obstacle” to federal law. Crosby v. Nat’l Foreign

Trade Council, 530 U.S. 363, 374 n.8 (2000). Indeed, the dissent in Geier invoked the same

presumption, to no avail. 529 U.S. at 894. Nor can intervenors escape preemption by claiming

that the challenged laws “promote the same goals as the FDA’s regulations.” MTD at 26. Even

where state and federal law share the same “ultimate goal,” state law “stands as an obstacle to

… federal law” if it “interferes with the methods” by which federal law pursues that goal. Gade

v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 103 (1992) (cleaned up).

       Finally , intervenors complain that although the REMS statute directs FDA to consider

patient safety, patient access, and burdens on the healthcare system, it does not require the

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agency to consider “other important interests” such as eliminating “gruesome or barbaric”

medical procedures, preserving the “integrity of the medical profession,” mitigating “fetal

pain,” and preventing discrimination. MTD at 30 (quotation marks omitted). But none of

those interests are implicated here. North Carolina has not sought to eliminate medication

abortion; the challenged laws have nothing to do with the interests intervenors recite; and Dr.

Bryant’s professional integrity will not be imperiled by providing mifepristone in full

compliance with the terms of her federal prescriber certification. In any event, the “relative

importance to the State of its own law is not material when there is a conflict with a valid

federal law, for any state law, however clearly within a State’s acknowledged power, which

interferes with or is contrary to federal law, must yield.” King v. McMillan, 594 F.3d 301, 309

(4th Cir. 2010) (quoting Felder v. Casey, 487 U.S. 131, 138 (1988)).

                                       CONCLUSION

       Intervenors’ motion to dismiss should be denied.




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                          CERTIFICATE OF COMPLIANCE

       I certify that the foregoing document complies with Local Rules 7.1(a) and 7.3(d)

because it uses 13-point Garamond font; its top margin is not less than 1.25 inches and its

bottom, left, and right margins are each one inch; and it contains 6,235 words.

       Date: April 28, 2023

                                               /s/ Chelsea Corey
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                              CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2023, the foregoing pleading was filed via the Court’s

CM/ECF System, which will effect service upon all registered counsel of record.

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